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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

 

MARYANN SAHOURY, individually, and as
guardian ad litem for A.S.,

Plaintiffs, Case No. 2:11 Civ. 05180 (KSH) (PS)
Vv. CIVIL ACTION
MEREDITH CORPORATION, JUDGMENT APPROVING MINOR’S
SETTLEMENT AND DIRECTING THE
DEPOSIT OF FUNDS
Defendant.

 

This matter having come before the Court in accordance with R. 4:44-3 on February
25, 2013, and Fred J. Pisani, Esq., of the firm of Ramp & Pisani, LLP, attorney for the
plaintiffs, and Jennifer A. Klear, Esq., attorney for the defendant, appearing, and the attorneys
for the parties having reported to the court that they have arrived at a settlement of the minor

plaintiff's claim between the plaintiffs and the defendant, and the Court having taken proofs A
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on the record and being satisfied that the settlement amount is fair and reasonable and in the

minor’s best interest.

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IT IS on this “> day of

, 2013, ORDERED and ADJUDGED

 

that:
1. Judgment is entered on behalf of A.S., a minor by her Guardian ad Litem in the

gross amount of $50,000.00 against the defendant, Meredith Corporation, without costs and/or

interest.
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~—defendant-for plaintiff's attorney fees orm
medical bills to be paid.

3. Plaintiff, Maryann Sahoury, shall immediately apply to the Surrogate of Bergen
County pursuant to R. 4:81 for the appointment of a guardian of the estate of the minor. It
shall be the responsibility of the attorney for the plaintiffs to see that this appointment is
completed.

4. Pursuant to R. 4:48A the net recovery of $50,000.00, payable for the benefit of the
minor plaintiff, shall be paid by-or-on_behalf-of the-defendantts) by check payable to the
“Surrogate of Bergen County Intermingled Trust Fund F/B/O of A.S., a minor’, within 30
days of this Judgment. It is and shall be the responsibility of the attorney for the plaintiffs to
see that this deposit is completed.

5. Upon the payment of the minor’s met recovery into the Surrogates’ Intermingled ©

 

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Trust Fund, theo. posting Of: a ‘bond by the per son; applying to > be guardian of the minor’s estate o
is-dispensed-with pursuant to N.J.S.A. 3B:15-16.

6. Monies may be withdrawn from said account only upon further order of the
Superior Court of New Jersey, Chancery Division, Probate Part, pursuant to N.J.S.A. 3B:15-
L7, or upon the minor attaining majority pursuant to N.J.S.A. 3B:15-17.1,

7. The Guardian ad Litem shall provide the Surrogate with the minor’s Social Security
Number and a copy of the minor’s birth certificate. Personal identifying information shall be
redacted from said documents and the same shall not be released to or made available for

public scrutiny unless ordered to do so by the Superior Court.
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8. The guardian of the minor’s estate is not authorized to receive any additional funds
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or property on behalf of the minor, except upon application to the Superior Court, Chancery
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Division, Probate Part, where the terms or cor itions for the receipt of additional funds or

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property may be fixed. Pursuant to NJ “S.A. 3B: 12-35,said limitation shall be stated in the
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Letter of Guardianship certificates hereinafter issued by the Surrogate. Y “~
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&. Upon qualifying, the Surrogate of Bergen Coun » Shall fissue Letters of ~ (aly waren, .

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Guardianship for the Estate of A.S., a minor, anct thercupon-said person appointed guardian be

and-hereby-is authorized toperform-alL_ofthe duties and-responsibilities-of-a-guardian-as-

 

allowed-bytaw;exeept-astinmuted- herein.
AW, The attorney for the plaintiffs shall deliver a copy of this Judgment to all parties

and the Surrogate of Bergen County within CO days of the date hereof,
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Honorabl e ie Patty Shwartz a
United States Magistrate Judge

 
